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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

    JAMIESON PICKENS and                             §
    JENNIFER PICKENS                                 §
                                                     §
    v.                                               §   CIVIL ACTION NO. 4:13cv655
                                                     §   (Judge Mazzant)
    TEK-COLLECT INCORPORATED                         §

                                       ORDER OF DISMISSAL

           This case has been pending on this Court’s docket since November 11, 2013. On January

    14, 2015, the undersigned entered an Order directing Plaintiffs to file a Status Report informing

    the Court of the status of this case no later than January 26, 2015. The docket reflects that no

    Status Report was filed, as ordered.

           A district court may dismiss an action for failure to prosecute or to comply with an order of

    the court. See generally McCullough v. Lynaugh, 835 F.2d 1126 (5th Cir. 1988); Magnuson v.

    Electronic Data Systems Corp., 252 F.3d 436, 2001 WL 360841 (5th Cir. 2001); Beard v. Experian

    Information Solutions Inc., 214 F. App’x 459 (5th Cir. 2007); Fed. R. Civ. P. 41(b). Plaintiffs

    failed to comply with an Order of the Court and failed to prosecute this action.

.          It is therefore ORDERED that Plaintiffs’ case is hereby DISMISSED for failure to

    prosecute pursuant to Fed. R. Civ. P. 41(b).

           The Clerk is directed to CLOSE this civil action.

           IT IS SO ORDERED.
           SIGNED this 4th day of August, 2015.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
